                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                   CRIMINAL CASE NO. 3:13-CR-204-MOC-DSC


UNITED STATES OF AMERICA,                             )
                                                      )
                                                      )
          v.                                          )                 ORDER
                                                      )
BOGGS PAVING, INC., et al.,                           )
                                                      )
                        Defendants.                   )
_________________________________________________ )



       THIS MATTER is before the Court on Defendants Styx Cuthbertson Trucking

Company Inc. and John Cuthbertson’s “Application [s] for Admission to Practice Pro Hac Vice

[for Beattie B. Ashmore]” (document #26) filed on August 20, 2013. For the reasons set forth

therein, the Motions will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Max O. Cogburn, Jr.

       SO ORDERED.                            Signed: August 20, 2013




       Case 3:13-cr-00204-MOC          Document 29          Filed 08/20/13    Page 1 of 1
